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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                         Chapter 11

    FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (JTD)

             Debtors.                                              (Jointly Administered)




                                  NOTICE OF SERVICE OF SUBPOENA

             PLEASE TAKE NOTICE that on September 8, 2023, a true and correct copy of the

attached Subpoena for Rule 2004 Examination was served via electronic mail on the following:

                                         Wells Fargo Bank, N.A.
                                            c/o Jason D. Evans
                                 Troutman Pepper Hamilton Sanders LLP
                                     301 S. College Street, 34th Floor
                                     Charlotte, North Carolina 28202
                                       jason.evans@troutman.com




1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
      4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
      Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
      of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/FTX.
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Dated: September 8, 2023                 Respectfully submitted,
       Wilmington, Delaware
                                         LANDIS RATH & COBB LLP

                                         /s/ Matthew B. McGuire
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                                         Matthew B. McGuire (No. 4366)
                                         Kimberly A. Brown (No. 5138)
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                                         Counsel for the Debtors
                                         and Debtors-in-Possession

                                         -and-

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                                         Special Counsel to the Debtors and Debtors-
                                         in-Possession




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B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (12/15)

                                   UNITED STATES BANKRUPTCY COURT
                                                                 District of

                                                                               Case No.
In re
                                                                               Chapte
                                    Debtor




To:                                                              Wells Fargo Bank, N.A.
                                                      (Name of person to whom the subpoena is directed)


   Testimony:                              to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
The examination will be recorded by this method: ___________________________________________________________

    Production: You, or your representatives, must also bring with you to the examination the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:



 PLACE                                                                                            DATE AND TIME

                                                                                                  September 22, 2023 at 5 PM ET




        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

      September 8, 2023
Date: _____________
                       CLERK OF COURT

                                                                               OR
                                 ________________________                                 /s/ Matthew B. McGuire
                                 Signature of Clerk or Deputy Clerk                       Attorney’s signature


The name, address, email address, and telephone number of the attorney representing (name of party)
____________________________ , who issues or requests this subpoena, are:




If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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I received this subpoena for                                                 : ______________________________________________
on        __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (            ) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                             ________________________________________________


                                                                             ________________________________________________



                                                                             ________________________________________________



Additional information concerning attempted service, etc.:
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                                                                                             (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                                         The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                   REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                             WELLS FARGO BANK, N.A.

         Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

Procedure, FTX Trading Ltd., its affiliated debtors and debtors-in-possession, and the Official

Committee of Unsecured Creditors (collectively, the “Movants”) hereby serve the following

requests for production of documents or categories of documents (the “Requests”) to Wells Fargo

Bank, N.A. (together with its subsidiaries and affiliates, “Wells Fargo”), to be produced to the

Movants in accordance with the Definitions and Instructions below.

                                          DEFINITIONS

         The terms used herein shall have the meanings ascribed to them in the Definitions set forth

below.

         1.     “Account” shall mean any arrangement between You and any of Your customers

where You hold funds or other assets on behalf of that customer.

         2.     “Chapter 11 Cases” shall mean the jointly administered bankruptcy cases styled

as In re FTX Trading Ltd., et al., Case No. 22-11068 (JTD) (Bankr. D. Del.).

         3.     “Communication” shall mean the transmission of facts, ideas, thoughts, opinions,

data, inquiries, or information, whether orally or in writing or by any other means or medium,

Including correspondence, memoranda, reports, presentations, interviews, face-to-face

conversations, telephone conversations, text messages, instant messages (Including messages sent

using Slack, Teams, Discord, WhatsApp, Signal, or other similar applications), voice messages,

negotiations, agreements, inquiries, understandings, meetings, letters, notes, telegrams, mail, e-

mail, and postings of any type. A Request for Documents Concerning any Communication among

or between specified parties includes a Request for any Communication among or between such

parties, whether or not such Communication included or was directed to any other Person.



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       4.      “Concerning” shall be understood in its broadest sense and shall mean concerning,

constituting, identifying, evidencing, summarizing, commenting upon, referring to, relating to,

arising out of, describing, digesting, reporting, listing, analyzing, studying, discussing, stating,

setting forth, reflecting, interpreting, recording, including, negating, manifesting, containing, or

comprising the subject matter identified.

       5.      “Debtors” shall refer, collectively or individually, to FTX Trading Ltd. and

affiliated debtors and debtors-in-possession, 2 which filed voluntary chapter 11 petitions under the

Bankruptcy Code commencing the Chapter 11 Cases.

       6.      “Document” shall have the broadest possible meaning under Rule 34 of the Federal

Rules of Civil Procedure, made applicable by Rule 7034 of the Federal Rules of Bankruptcy

Procedure, and shall include all originals (both sides thereof), copies (if the originals are not

available), non-identical copies (whether different from the original because of underlining, editing

marks, notes made on or attached to such copy, or otherwise), and drafts of the following items,

whether printed or recorded (through a sound, video, or other electronic, magnetic, or digital

recording system) or reproduced by hand, as well as all materials underlying, supporting, or used

in the preparation of such a Document: letters, correspondence, telegrams, telexes, facsimile

transmissions, memoranda, records, summaries of personal conversations or interviews, notes,

financial or statistical statements or compilations, contracts, agreements, analyses, pictures, films,

plans, tape recordings, videotapes, disks, diskettes, websites, e-mail and other electronically

transmitted messages, text messages, chat or communicator transmissions, voicemail messages,

online chat or instant messages (e.g., Slack, Teams, Discord, WhatsApp, or Signal messages),



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    A complete list of the Debtors may be obtained on the website of the Debtors’ claims and
    noticing agent at https://cases.ra.kroll.com/FTX.


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interoffice Communications, and any other writings, papers, or tangible things of any kind. The

term “Document” further includes e-mail and electronic communication whether stored on a

personal computer, network computer system, backup computer tape and/or disk, or some other

storage mechanism. The term “Document” also includes all Electronically Stored Information.

        7.      “Electronically Stored Information” or “ESI” shall have the broadest possible

meaning under Rule 34 of the Federal Rules of Civil Procedure, made applicable by Rule 7034 of

the Federal Rules of Bankruptcy Procedure, and shall include all computer or electronically stored

or generated data and information, Including all attachments to and enclosures with any requested

item, and all drafts thereof. “Electronically Stored Information” or “ESI” includes information

stored in any format and on any storage media, Including: hard disks; floppy disks; optical disks;

flash memory devices; and magnetic tape, whether fixed, portable, or removable. “Electronically

Stored Information” or “ESI” further includes: word-processing Documents; electronic

spreadsheets; electronic presentation Documents; e-mail messages; image files; sound files; and

material or information stored in a database, or accessible from a database. “Electronically Stored

Information” or “ESI” also includes all associated metadata that is maintained or saved (e.g.,

author, recipient, file creation date, file modification date, et cetera).

        8.      “FTX Group” shall refer, collectively or individually, to the Debtors and to all

affiliates of the Debtors, Including those that have not filed voluntary chapter 11 petitions in the

United States under the Bankruptcy Code, and any parents, subsidiaries, affiliates, predecessors,

successors, assigns, members, principals, partners, directors, officers, employees, agents,

representatives, consultants, attorneys, or Persons acting or purporting to act on their behalf. For

the avoidance of doubt, “FTX Group” shall include Blockfolio, Inc., Digital Custody Inc., Clifton




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Bay Investments LLC, Hilltop Technology Services LLC, Good Luck Games, LLC, and FTX

Vault Trust Co.

       9.      “Including” shall mean “including, but not limited to” and “including, without

limitation.” It shall not be construed to limit the scope of any Definition or Request herein.

       10.     “Insiders” shall mean, collectively or individually, Samuel Bankman-Fried, Zixiao

“Gary” Wang, Nishad Singh, Caroline Ellison, Zhe “Constance” Wang, Ryan Salame, Barbara

Fried, Joseph Bankman, and Gabriel Bankman-Fried, their agents, and any of their spouses or

partners, parents, grandparents, siblings, aunts and uncles, nieces and nephews, or first cousins.

       11.     “Person” shall mean natural persons, proprietorships, corporations, companies,

partnerships, trusts, joint ventures, groups, associations, organizations, and all other form of

organization or entity, Including governmental bodies and agencies. “Person” shall include that

Person and (a) that Person’s directors, officers, employees, agents, and representatives; (b) that

Person’s attorneys, accountants, and advisors (Including investment bankers and public relations

or other media consultants); (c) any professional employed or retained by that Person; and (d) all

other Persons acting or purporting to act on that Person’s behalf.

       12.     “Petition Date” shall mean November 14, 2022 as to West Realm Shires Inc., and

November 11, 2022, as to all other Debtors.

       13.     “You,” “Your,” or “Wells Fargo” shall refer to Wells Fargo Bank, N.A., as well

as any parents, subsidiaries, affiliates, predecessors, successors, assigns, members, principals,

partners, directors, officers, employees, agents, representatives, consultants, attorneys, or Persons

acting or purporting to act on its behalf.

       14.     Whenever used herein: (a) the singular shall be deemed to include the plural, and

the plural shall be deemed to include the singular; (b) the masculine shall be deemed to include




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the feminine, and the feminine shall be deemed to include the masculine; (c) the disjunctive (“or”)

shall be deemed to include the conjunctive (“and”), and the conjunctive (“and”) shall be deemed

to include the disjunctive (“or”); (d) each of the functional words “any,” “each,” “every,” and “all”

shall be deemed to include each of the others; and (e) the past tense shall include the present tense

and vice versa.

                                          INSTRUCTIONS

       1.         These Definitions and Instructions shall apply in interpreting the scope of the

Definitions and Instructions as well as the individual Requests below.

       2.         Unless otherwise specified, each Request herein seeks all responsive Documents

without any limitation with respect to date.

       3.         Please respond separately and fully to each Request and produce all Documents

responsive to the Requests that are within Your possession, custody, or control; in the possession,

custody, or control of any other Person or entity acting or purporting to act on Your behalf; or

otherwise available to You.

       4.         If You cannot fully respond to one or more of the Requests after exercising due

diligence to secure the information requested thereby, please so state, and specify: (a) the portion

of each Request that cannot be responded to fully and completely; (b) what efforts were made to

obtain the requested information; (c) the facts relied upon that support Your contention that the

Request(s) cannot be answered fully and completely; and (d) any knowledge, information, or belief

You have Concerning the unanswered portion of any such Request(s).

       5.         If there are no Documents responsive to any particular Request, please state so in

writing.

       6.         A Request for a Document shall be deemed to include a Request for the original

and final versions of the Document, all drafts, alterations, modifications, changes, and amendments


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thereto, as well as all non-identical copies or drafts of such Documents, Including any copy bearing

non-identical markings or notations of any kind, as well as all transmittal sheets, cover letters,

exhibits, enclosures, or attachments to the Document.

       7.      You shall produce all Documents in the manner in which they are maintained in the

usual course of Your business or You shall organize and label the Documents to correspond with

the categories in this Request. Documents contained in file folders, loose-leaf binders, and

notebooks with tabs or labels are to be produced in a manner that duplicates such labels, markings,

or organizational tools and that replicates the manner in which the Documents are or were

maintained. Documents attached to each other should not be separated.

       8.      Each Request herein should be construed independently and not with reference to

any other Request for the purpose of limitation.

       9.      The fact that a Document is produced by another party does not relieve You of the

obligation to produce Your copy of the same Document, even if the two Documents are identical.

       10.     All Documents and Electronically Stored Information shall be produced with all

available metadata.

       11.     If You contend that any information requested is privileged or otherwise immune

from discovery, or if any Document is withheld from production based on a claim of privilege,

immunity, or other ground, please furnish a log specifying: (a) the nature of the privilege being

claimed and, if the privilege is being asserted in connection with a claim or defense governed by

state or foreign law, the specific state or foreign privilege rule being invoked; and (b) unless

divulgence of such information would cause disclosure of the allegedly privileged information,

(i) the type of Document, (ii) the general subject matter of the Document, (iii) the date of the

Document, and (iv) such other information as is sufficient to identify the Document for a subpoena




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duces tecum, Including, where appropriate, the author of the Document, the addressee of the

Document, and, where not apparent, the relationship of the author to the addressee, and the names

of all entities that received a copy of the Document.

       12.     If a portion of an otherwise responsive Document contains information subject to a

claim of privilege or protection, only that portion of the Document subject to such claim shall be

redacted from the Document and the rest shall be produced.

       13.     In the event any Document responsive to any Request has been lost, discarded, or

destroyed, that Document is to be identified by stating as completely as possible: (a) the authors

or creators of the Document; (b) all Persons who received copies of the Document, Including the

Document’s indicated and blind copy recipients; (c) the custodian of the Document; (d) the date

of the Document; (e) the type of Document (e.g., memorandum, letter, report, e-mail, Signal

message); (f) the Document’s date of destruction or discard, manner of destruction or discard, and

the reason for destruction or discard; and (g) the Persons authorizing and carrying out such

destruction or discarding of the Document.

       14.     If You claim any ambiguity in interpreting a Request, Definition, or Instruction,

You should not use that claim as a basis for refusing to respond, but shall set forth as part of Your

response the language deemed to be ambiguous, and shall comply with any portion of the Request

that You do not contend is ambiguous.

       15.     Each Request shall be deemed to be continuing in nature. If at any time additional

Documents come into Your possession, custody, or control or are brought to Your attention,

prompt supplementation of Your response to these Requests is required.




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         16.     All discovery in connection with these Requests shall be subject to and conducted

in accordance with the terms of any protective or confidentiality orders entered by the Bankruptcy

Court.

         17.     These Requests are provided without prejudice to, or waiver of, the Movants’ right

to conduct further discovery.

                                    DOCUMENT REQUESTS

         1.      Account statements for all Accounts opened prior to the Petition Date that were

owned by, controlled by, or used by anyone working on behalf of, or held in the name of or for the

benefit of, the FTX Group or the Insiders.

         2.      All agreements governing any Accounts opened prior to the Petition Date that were

owned by, controlled by, or used by anyone working on behalf of, or held in the name of or for the

benefit of, the FTX Group or the Insiders, Including any terms of service.

         3.      All Documents Concerning the opening of all Accounts opened prior to the Petition

Date that were submitted to Wells Fargo by anyone working on behalf of, or in the name of, or for

the benefit of, the FTX Group or the Insiders.




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